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             IN THE CIRCUIT COURT OF THE STATE OF OREGON FOR JACKSON COUNTY



      Heidi Marie Brown,                                        case No. 22DR17285

                              Petitioner,                       ORDER CASE ASSIGNMENT

              v.
      Amaud Paris,

10                            Respondent.

11

12            This matter having come before the Court on 04/24/2024 on Its own motion,
13
      hereby Orders that this case and any associated cases be assigned to another Civil Family
14
      Judge. All future hearings shall be heard by the assigned Judge.
15

16
      SO ORDERED
17
      Dated:'f'w,;lC-{ .f)o!;).'-1
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                                         JACKSON COUNTY CIRCUIT COURT
                                                 100 SO!JT!l OAKDALE
                                                 MEDFORD, OR 97501


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